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    6                         UNITED STATES DISTRICT COURT
    7                       CENTRAL DISTRICT OF CALIFORNIA
    8
        UNITED STATES OF AMERICA,
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   10                                 Plaintiff,         CASE NO.
   11                        v.                                       CR 2:99-270-CAS-6
        MOUSTAFA CHAGRIN
   12                                                    ORDER OF DETENTION
   13

   14                                 Defendant. }
   15

   16                                                     I.

   17       A.()       On motion of the Government in a case allegedly involving:
   18            1.()     a crime of violence.
   19           2.()      an offense with maximum sentence of life imprisonment or death.
   20           3.()      a narcotics or controlled substance offense with maximum sentence
   21                     often or more years .
   22           4.()      any felony -where the defendant has been convicted of two or more
   23                     prior offenses described above.
   24           5. O      any felony that is not otherwise a crime of violence that involves a
   25                     minor victim, or possession or use of a firearm or destructive device
   26                     or any other dangerous weapon, or a failure to register under 18
   27                     U.S.0 § 2250.
   28       B.(~       On motion by the Government /( )on Court's own motion, in a case

                                  ORDER OF DETENTION AFTER HEARING(18 U.S.C. §3142(1))

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    1 1                     allegedly involving:
    2            (~         On the further allegation by the Government of:
    3              1. (~       a serious risk that the defendant will flee.
    4             2.()         a serious risk that the defendant will:
    5                    a.()obstruct or attempt to obstruct justice.
    6                    b.()threaten, injure, or intimidate a prospective witness or juror or
    7                          attempt to do so.
    8         C. The Government()is/(~ is not entitled to a rebuttable presumption that no
    9             condition or combination of conditions will reasonably assure the defendant's
   l0             appearance as required and the safety of any person or the community.
   11

   12                                                       II.
   13         A.(~          The Court finds that no condition or combination of conditions will
   14                       reasonably assure:
   15              1. (~       the appearance of the defendant as required.
   16                () and/or
   17             2.() the safety of any person or the community.
   18         B.()          The Court finds that the defendant has not rebutted by sufficient
   19                       evidence to the contrary the presumption provided by statute.
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   21                                                       III.
   22         The Court has considered:
   23         A. the nature and circumstances ofthe offenses) charged, including whether the
   24             offense is a crime ofviolence, a Federal crime ofterrorism, or involves a minor
   25             victim or a controlled substance, firearm, explosive, or destructive device;
   26         B. the weight of evidence against the defendant;
   27         C. the history and characteristics of the defendant; and
   28         D. the nature and seriousness ofthe danger to any person or to the community.

                                     ORDER OF DETENTION AFTER HEARING(18 U.S.C. §3142(1))

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    1                                                     IV.
    2       The Court also has considered all the evidence adduced at the hearing and the
    3       arguments and/or statements of counsel, and the                               Pretrial   Services
    4       Report/recommendation.
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    6                                                      V.
    7       The Court bases the foregoing findings) on the following:
    8       A.(~          As to flight risk:
    9        The recommendation of pretrial services for detention, notwithstanding defendant's
             proposed surety.
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   16       B. O          As to danger:
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   24                                                     VI.
   25       A.()          The Court finds that a serious risk exists that the defendant will:
   26                  1.()obstruct or attempt to obstruct justice.
   27                  2.()attempt to/( )threaten, injure or intimidate a witness or juror.
   28

                                   ORDER OF DETENTION AFTER HEARING(18 U.S.C. §3142(1))

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    1       B. The Court bases the foregoing findings) on the following:
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    9                                                 VII.
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   11       A. IT IS THEREFORE ORDERED that the defendant be detained prior to trial.
   12       B. IT IS FURTHER ORDERED that the defendant be committed to the custody
   13            ofthe Attorney General for confinement in a corrections facility separate, to
   14            the extent practicable, from persons awaiting or serving sentences or being
   15            held in custody pending appeal.
   16       C. IT IS FURTHER ORDERED that the defendant be afforded reasonable
   17           opportunity for private consultation with counsel.
   18       D. IT IS FURTHER ORDERED that, on order of a Court of the United States
   19           or on request of any attorney for the Government, the person in charge of the
   20           corrections facility in which the defendant is confined deliver the defendant
   21           to a United States marshal for the purpose of an appearance in connection
   22            with a court proceeding.
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   26   DATED: 11/23/2021
                                                     UNITED STATES MAGISTRATE JUDGE
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                                ORDER OF DETENTION AFTER HEARING(18 U.S.C. §3142(1))

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